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                      U N ITED STA T ES D ISTR IC T C O U R T
                      SOU TH ERN D ISTRICT O F FLO RID A        .
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                                                                      S.D.OFF%
                           C A SE N O .21-cv-61719-K M M                         .-   F.cLxtjo.




  D ONN AH UE G EOR GE                              A M E ND ED C O M PL A IN T
                                                      JU R Y TR IAL D EG              ND
      Plaintiff '


  IQEN G R IFFIN
  C ITA D E L SEC U R ITIE S M A R U T M A K ER
  C ITA D E L C O N N E C T D A R K PO O L
  C ITA D E L LLC H ED G E FU N D
  SEC U R ITIE S EX C H A N G E C O M M ISSIO N
  FrNR A
  C FT C
  D TC C
  R O B IN H O O D
  W EBU LL
      D efendants

                                      PA R TIES
  Plaintiff
  D orm ahue G eorge at 1012 N W 2nd stFortLauderdale Florida 33311
  D efendants
  SE CU R ITY EX C H A N G E C O M M ISSIO N
  100 F st(
          N E W ashington D C 20549
  K EN G R IFFIN
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  131 S D earborn StChicago IL 60603
  C ITA D EL SE CU R IT IE S M AR U T M AK E R
  425 Park A ve N ew Y ork r   10022
  C ITA D EL C O N N EC T D A R K PO O L
  13l S D earborn stChicago IL 60603
  CITA DEL LLC H EDG E FU ND
  131 S D earbonzst Chicago IL 60603
  FIN M
  1735 K StreetN W W ashington D C 20006
  C FT C
  l15521StStNW W ashington D$ 20581
  DTCC
  55 W aterSt N ew York N Y 10041
  R O BIN H O O D FG A N C IAL L LC
  85 W illow road M enlo Park CA 94025
  W EBULL FINAN CIAL LLC
  44 W allstSuite 501 N ew Y ork N Y 10005
  Basis ofJurisdiction
  TheBasisoffederalcourtJurisdiction isaFederalQuestion
     A .V iolation ofm y 4th 5* and 14th A m endm entofConstitution
     B .U .S.Code 1983 Civilaction for deprivation ofR ights
     C.The am ountin controversy isover$75,000 and $100,000,000 in punitive
          dam ages
     D .RICO Violations18U.S.C.j 1962(c),
     E.Diversity Partiesarefrom differentjurisdictions28U.S.C 1332
     F. A ntitrustlaw s Sherm an A ct 1890 C layton A ct 1940 FederalTrade
        C om m ission actof 1914
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        ThePlaintifflDolm ahueGeorgeupon information and belief,asand forhis
  A m ended com plaintPursuantto FederalR ule 15 A m ended and Supplem ental

  pleadings againstthe D efendants,say:


                                  IN TR O D U C TIO N

     1. Thiscase arisesoutofthe factthatthe SEC and othergovernm ent agencies

        have breached the contract thatthey have w ith m yselfand otherU nited

        States Citizens.W e pay them to protectour interestasretailinvestors and

        insure a fair and open M arket,and by accepting those paym entsthey

        contractto protectthe integrity ofthe m arket..'l'he SEC FIN R A C FTC and

        the D TCC have breached the contractthatthey have w ith m yselfother

        Am erican citizens and the entire w orlds econom ic system .They breached

        the contractby turning a blind eye to the irregularities and illegalacts in the

        m arketand allow this m alfeasance to continue,costing D olm ahue G eorge

        lossesof$1,700,000.00 and otherretailinvestorsm illionsofdollars.Even

        w hen these governm entagencies puton an appearance of fining thesesbad

        actors in ourm arkets,the fines and punishm ents are so sm allthatinstead of

        acting as a deterrentthe tines and punishm ents actually em bolden the bad

        actorsto continuetheirbad behavior.The G overnm entagenciesaotionsare

        sim ilarto abank robbery.Theballk robbers are caughtby thepolice but

        instead ofarrestingthebankrobbersandtakingthem tojailthepolicetake a
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        cutofthe ill-gotten proceeds and then 1etthe bank robberskeep the rest.ln

        w hatother industry in thisw orld w ould thistype ofbehaviorbe acceptable.

     2. Robinhood,W ebullalong w ith Ken Griffin Citadel,CitadelConnect,

        C itadelSecurities SEC,FIN R A ,CFTC and D TCC have created an

        Enterprise and Conspired and participated in conduct thatm anipulated the

        M arketand controlled the pricesofstocks,to the detrim entofm yself and

        otherretailinvestors.The D efendantspattern ofbehavior ofallow ing m arket

        m anipulation orparticipating in M arketM anipulation is ongoing and

        continuous and aviolation ofU nited StatesA ntitrustLaw s.The D efendants

        established a privateD ark poolin ordertom anipulatethe price ofsecurities

        and derivatives.The D efendants actions and the G ovem m entagencies

        inaction w ere directcause ofm y m onetary losses.C itadelCorm ectacts as a

        privateD ark Pooland while the SEC hasstrictregulationsregarding dark

        poolregistration CitadelC onnecthas been given free rein by SEC FIN R A

        CFTC and D TCC to operate outside the 1aw to the detrim entofD onnahue

        G eorge and other retailinvestorsnationally and intem ationally.

     3. The D efendants com m itted substantive R ico V iolationsper 18 U SC Section

        1962 resultingintheplaintiffDonnahueGeorgelosingm oney andthelnjury
        occurred becauseoftheDefendantssubstantiveRICO violations.The

        Defendantscom m itted counterfeiting and wire fraud by counterfeiting and
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        selling fake synthetic shares into the m arketthatthey knew did notexistand

        then sending eled ronic w ireto plaintiffalleging they w ired the stocks and

        derivativesthrough W Ebulland R obinhood thatPlaintiffpurchased w hen in

        reality they w ired nothing.

     4. They callthetransactions synthetic sharesin orderto m inim izethe

        crim inality ofthe tpnsaction.W hatare synthetic $100 bills,synthetic car

        titles,synthetic property deeds,synthetic G U C CIbags? W e w ould callthem

        counterfeit.W hatthey a<e doing in putting counterfeitsharesinto them arket

        in orderto m anipulate the price ofA M C and GM F,stock.

     5. The abusive shorting are notthe random actofrenegade hedge funds and

        m arketm akersw ith the SEC FIN R A CFTC and D TCC turning a blind eye,

        butrathera coordinated businessplan thatiscarried outby a collusive

        consortium énd entem rise ofhedge fundsprim ebrokersand M arketm akers

        underthe closed eyesofthe Govem m entagenciesthatw e arepaying to

        protectour interests.

     6. The predicate actions ofallthe defendantsw ere continuousand interrelated

     7. The D efendantsparticipated in conductthatw as interrelated.The action of

       theD efendantscreated an enterprise because they a11benetked from their

        illegalactivity.TheDefendantshave established apattem ofbehaviorover

       thepastyearsin furtherance oftheirm arketm anipulation and illegal
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        activities.The D efendants action and the G ovem m entagencies inactions are

        the directreason forD onnahue G eorge losses.

     8. The actionsofD efendantsKen Griftin CitadelLLC CitadelSecurities and

        C itadelConnectactions are a directviolation ofthe Sherm an act of 1890 the

        Clayton A ctof 1914 and theFederalTradeCom m ission actof 1914 They

        have an illegalm onopoly on the m arketand the SEC FN R A CFTC and

        D TC C ttll.n a blind eye to these violations.The D efendants illegalM onopoly

        are the directcause ofD olm ahue G eorge m onetary losses.

                                    B reach of C ontract

     9. Theelem entsforabreach ofcontractrequirethat1.The existenceofa

        contract2.Perform ance by the Plaintiff3,failure to perform the contracton

        thepartofthe defendant4.Resulting dam agesto the plaintiff.

     10.The SEC FIN R A CFTC and D TC C had a Contractw ith the A m erican

        people to insure an open and fairm arket,2 The Plaintiffperform ed buy

        paying the SEC FIN R A CFTC and the D TCC theirsalary every year3 The

        SE C FIN M   CFTC and theD TCC failed to perform by turning a blind eye

        foryearsto a1lthe illegalactivitiesofthe H edge fundsM arketM akers and

        Dark Poolsand when acting likethey w ere fulflling theirobligationsunder

       the contractby punishing the bad actorsthey only tined the bad actorsa

        sm allam ountcom pared to theprofksthebad actorsreceived from theirbad
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        behavior.These m iniscule tines instead of detening bad behavior,

        encouragedthebad behaviorandthebad aotorsjustlooked atthepetty tines
        as a costofdoing business 4 The D efendants failure to perform w asthe

        directresultofPlaintiffD onnahue G eorge m onetary losses.

                                     RICO Violations


     l1.ln orderto establish a R ICO violation,fourbasic elem ents m ustbe proven:a

        pattem ofracketeering activity,a culpable person w ith the requisite m ensrea,

        an enterprise, and an effect on interstate com m erce. H ow ever, additional

        elem ents m ay be necessary depending on the nature of the claim for civil

        liability.

     12.To prevailon a civilRICO claim ,a plaintiff m ustidentify a culpable person

        w ho actually com m itted the R ICO violation or conspired to do so H ow ever,
                                                                           .




        underthe R ICO statute,the ûtculpable person''can be any individualor entity

        capable ofholding alegalorbeneticialinterestin property.Theplaintiffmust

        also be able to dem onstrate thatthe culpable person possessed the m entalstate

        reqtlired to com m itthe alleged predicate offenses.In otherw ords,itm ustbe

        show n thatthe defendantintended to com m itpredicate ad sdespite having the

        ltnow ledgethatthose actsw ere illegal.

     13.The SEC DTCC FIN RA CFTC K en Griffin Citadel Colm ect Citadel

        Securities CitadelLLC Robin H ood and W Ebullare individuals under the
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        definition established by the R ICO statute and possess the M ental State

        required to com m it the predicate offenses alleged in this com plaint. The

        D efendants com m itted these acts despite having com plete know ledge that

        their actionsw ere illegaland contrary to m ultiple federallaw s and statutes.

     l4.undel-RICO,any legalentity,individual,orgroup ofassociated individuals

        m ay be considered an entep rise.lnform alassociations,or association-in-fad

        enterprises, m ay still be considered enterprises if it can be show n that the

        individuals involved w orked together in furtheranee of a com m on illegal

        interest.A dditionally,the enterprise m ust be a distinct and separate entity

        from the established culpable individual.

     15.The SEC D TC C FIN R A CFT C K en G riffin C itadel C onnect Citadel

        Securities Citadel LLC R obinhood and W Ebull are distinct and separate

        individuals and w orlted togetherto m anipulate the price of A M C and G M E

        shares to benetit them selves at the detrim ent of m yself and other retail

        investors nationally and internationally.

     l6.predicate acts are independently illegal,racketeering activities.U nderR ICO ,

        certain specifieally enum erated federal crim es and cel-tain state offenses are

        prohibited and are deem ed Scpredicate acts''necessary to state a claim under

       RICO . The listofprohibited activitiesincludes,am ong others,w ire orm ail
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        fkaud, m oney laundering, cotlnterfeiting, em bezzlem ent, illegal gam bling,

        extol-tion,and bribery.

     17.The D efendants com m itted w ire fraud by electronically sending fake

        counterfeit shares that they knew did not exist through m y W ebull and

        Robinhood accountelectronically.The Defendantscom m itted counterfeiting

        by fabricating and counterfeiting falte synthetic shares and selling them into

        the m arket and shorting them into the m arket even though they knew that

        selling fake naked shol'tsw as illegaland banned since 2008.

     18.The D efendants C itadelLLC CitadelC onnect CitadelSecurities along w ith

        R obinhood and W ebullconspired to hold our buy orders in order to buy in

        frontof m e in ol-derto gain a distinctive illegal advantage.C itadelw as fined

        $700,000 in thepastforthisillegaladivity butthattinew asnotsignificant

        enough to stop thatbad behavior.They routed buy orders through the dark

        poolandtlooded tlneregularm arketw ith sellordersin orderto m anipulatethe

        price ofA M C and GM E stock.The D ark poolvolum e for A M C and G M E is

        over 60% no other stock has thattype ofD ark Poolvolum e.R etailtraders do

        not trade on the D ark Pool so this is further evidence of the Defendants

        utilizing the D ark Poolsto M anipulate the m arket.They eoordinated Ladder

        attacksto controland m anipulate the price ofAM C and G M E stock buying

        and selling shares between them at pre detennined prices in order to bring
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        dow n the stock.Buy orders exceeded sellorders yetthe price of A M C and

        GM E oontinued to decline.The D efendantsM anipulation ofthe A M C stook

        in the dark poolresulted in lossesto PlaintiffD onnahtle G eorge

     19.Even though naked shorts have been illegal since 2008 The D efendants

        continue to fabricate naked shorts ofA M C and GM E to flood the m arkets

        w ith the naked shorts in order to m anipulate the stock price.U ntila con'ect

        and accurate share count is done w e w ill not ltnow how m any cotm tel'feit

        shares are being traded.There are probably B illions of fake synthetic shares

        ofA M C and G M E flooding the m arket.The SA Y technology w ebsite show ed

        that 1% ofretailinvestorsowned 10% ofAM C shares.Thatsuggestsbillion

        of fake shares being traded in the m arket.

     20.The Defendants abuse the Failure to Deliver system (FTD) to further
        m anipulate the m arket.The D efendants nevercovered the Failure to D elivers

        on mtlltipledatesfrom M ay 2021to thepresent.instead theyjustmove the
        D ebtfrom bank to bank to give the appearance ofdelivering the sharesfurther

        m anipulating the m arketand putting the entire U nited Stateseconom ic system

        atrisk.

     21.A PonziSchem e iswhen a bad actorusesthe fbm dsofnew ilw estorsto pay
                  '
                  f
        off o1d investors to keep the schem e going.lfthe Hedge funds are m oving

        theirFailure to D elivers from bank to bank in orderto lteep the schem e going
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        and nevereveractually delivering the shares,w ould thatbe considered aPonzi

        Schem e under the law ?

     22.CitadelSecurities w as fined 58 tim es forin the lastfew years,In Febnlary of

        2021They werefined again am ere$10,000 forfailingto deliversharesagain

        during the GM E squeeze.How can tines like that deterbad behavior? The

        D efendants continue on this illegalcourse of action resulting in daily losses

        to Plaintiff D onnahue G eorge because there are no consequences that deter

        their bad behavior.

     23.The D efendants from June 2021 to the present used derivatives such as far

        out ofthe m oney putoptions in orderto m anipulate the shm4 interest l'ate of

        AM C and GM E.The CFTC tulmed ablind eye to thisabuse and by doing so

        breached their contract w ith Plaintiff D onnahue G eorge and the A m erican

        people to protectourinterestsin the m arket.The CFTC took a oath to protect

        a fair and transparentm arketbutby turning a blind eye to these abuses failed

        in their oath of oftice and breaching the contract that they agreed to buy

        accepting governm entem ploym ent.

     24.The D efendants are also using round 1ot and odd lot algorithm ic trading to

        furtherm anipulatethem arket.They setup the algorithm ic system in orderto

        keep the price down by notcounting sharesboughtbelow the block am ount

        of 100 sharesthesam e asblocksofsharesboughtin 100 shareblocks.
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     25.The D efendants also utilized the shot-texem ptrule to further m anipulate the

        m arket.The shortexem ptlrule isunregulated and w orkson the honor system .

        lt puts the burden on the hedge ftm d to repol't any violation of the Short

        exem pt rule.W henever a stock goes dow n m ore than 10% in a day The next

        day hedge funds are notallowed to shortthe stock ata low erprice butthe

        short exem pt rule allow s the hedge funds to ignore the tlptick rule and

        continue to shol-ta stock into oblivion.They utilize the shortexem ptlalle in

        orderto ignore the uptick rule to furthel'm anipulate the price action.

     26.The D efendants have tltilized m assm edia and socialm edia as anotherw ay to

        m anipulate stock prices.They have co conspirators in m ass m edia w ho w rite

        and broadcast infonnation that they ltnow to be incorrect in order to

        m anipulate stock prices.They utilize bots and paid shills w hich are people

        that are paid to enter socialm edia room s to spread lies and FLJD Fear

        Uncel-tainty D oubtin ol-derto getretailinvestorsto buy orselltheirstocks.

     27.The D efendant CitadelLLC has paid JanetY ellen $7,000,000 in speaking

        feesthis sam e defendanthasdonated $68,000,000 to Governm entfundsand

        donated m oney to all the individuals w ho voted against the investm ent

        security act,creating aconflictofinterestthatcannotbe ignored    .




     z8.Generally,RICO prohibits four differenttypes of activities:investm ent of

        racketeering incom e in an entep rise,acquisition or eontrolof an entep rise
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        due to a pattern ofracketeering activity,operation ofa RICO enterprise,and

        RIC O conspiracy.O fthese four types of activities,plaintiffs in civilRIC O

        actionsmostcommonlyrelyon 18U.S.C.j 1962(c),conductingtheaffairsof
        an entem rise through a com m on pattern ofl'acketeering activity.

     29.The Defendants actions violated RICO statute by racketeering activities a

        RIC O enterprise and a RIC O conspiracy

     30.The D efendants C itadel colm ect C itadel Securities and Citadel LL C along

        with Robinhood andW ebull conspired to m oveinvestorssharesofAM C and

        G M E through dark pools and Citadelconnectin orderto m anipulate the price

        and reducetherealvalueoftheAM C and GM E shares

                                   AN T ITR U ST LA W S

     31.Antitrtlstlaws are statutes developed by governm ents to proted oonsum ers

        from predatory businesspractices and ensure fair com petition.The actions of

        K en G riffin CitadelLLC C itadelSecurities and C itadelConnectare in direct

        violation ofthe antitruststatutes

     32.U nderSection 2 ofthe Sherm an actaM onopoly exists w hen an actorpossess

        M onopoly pow er in the relevant m arket and the w illful acquisition or

        m aintenance ofthatpoweras distinguished from grow th or developm entof

        a stlperiorproductbusinessacum en orhistoricaccident.
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     33.K en G riftin isin possession oflnonopoly pow eroverthe stock m arketbecause

        of his ow nership ofthe H edge Fund the M arket M aker and the tm regulated

        D ark Pool

     34.The tm precedented grow th of Citadeland its B usiness acum en m eets al1the

        requirem ents tbraviolation ofthe Shennan actand establishesK en Griffin ,

        CitadelLLC CitadelSecuritiesand CitadelConnectasan illegalm onopoly.

     35.The D efendants K en G riffin Citadel LLC The H edge Fund and Citadel

        Securities the M arket M aker along w ith Citadel Corm ect The tlnregistered

        D ark pool have a unfair m onopoly on the m arket.The C om pany that is

        shorting A M C and G M E stock is also the com pany directing the orders,w ith

        the option to divertand hold orders on its unregistered dark pooland fillthe

        orders.From A prilof2021 to thepresentR obinhood and W EBullhavetaken

        m y buy orders of A M C shares routed them to Citadel w ho then l'an them

        through C itadel connect and other dark pools in order to control and

        m anipulate the price ofA M C stock.They utilize this m onopoly to controlthe

        pxice of any stodtthatthey have settheirsights on. A 11these Com panies are

        ow ned by K en G riffin.Thisis an unfairm onopoly thatw ould notbe accepted

        in any otherindustry and isripe forabuse and illegalactivity.
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     These actions are in directviolation ofthe antitrustand m onopoly law s

     instituted by otzr legislature.Sherm an A ct 1890 C layton A ct 1940 Federal

     Trade C om m ission actof 1914

     The D efendantsV iolation ofthe antitrustlosses contributed to Plaintiff

     D omzahue George continuing to losem oney.

     36.The D efendants SEC FN R A and D TC C w ere aw are ofthese illegalactivities

        and instead of fining these bad actors in an am ountthatw ould deterthis bad

        behavior, the fines and punishm ents actually m otivated the bad actors to

        continue violating the law .If an institution com m its an illegalact and protits

        ($100,000,000.00)100 M illion Dollars from thatillegalact.butifthey get
        caughtdoingtheseillegalactivitiesthefineisonly ($1,000,000.00)1M illion
        D ollarsw hy w ould they stop doing illegalactivities? Robinhood was fined

        $70 m illion dollarsbutthe am ountofm oney they m adeshutting down trading

        and deeeiving investorsm adethat$70 m illion dollartine seem insigniticant.
        R obinhood even adm itted in theirlPO tiling thatthey w ould probably engage

        in the sam e illegalconductagain.H ow w as thatfine a deterrentto future bad

        behavior?

     37.ForyearstheH edgeFundsM arketM akersand investm entBankshavecalled

        us dr um b M oney''w hile they steal our hom es, retirem ent funds and our

        children's futurew hile the governm enttum s ablind eye.W e retailinvestors
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        are tired ofthe cornlption and abuse thatw e have stlffered atthe hands ofthe

        so called ''Sm a14 M oney''W e have adopted the m oniker of tt-f'
                                                                        he A pes''W e

        have adopted thism onikerbecause we are unconventionaland think outside

        thebox.TheAlalgorithmsthatworkedtocontroltheprlorgenerationofretail
        investorshaslittle affecton us.W e retaillnvestorsEtApes''are sick and tired

        ofw atching our hard earned savings and our children's futtlre stolen because

        of m anipulation and corruption that has perm eated the stock m arket for

        decades.W eplan on taking controlofourfinancialfuture.W e w illinsure that

        a fair and transparentm arket is the legacy thatw e leave our children.

                                          R EL IE F

     38.The plaintiffrequeststhatthishonorable courtgrantPlaintiffactualdam ages

        in the am ountof$1,700,000.00 forthe Defendantsillegalactionsplus

        punitive dam agesin the am ountof$100,000,000.00to punish the defendants
        and insure thatthey do notcom m itthese illegalacts again in the future.The

        Plaintiffrequests thatthis honorable C ourtsorderthe SEC FN R A and

        D TCC to issue tinesto the illegalactors 10 tim es their gains from their

        illegalactivitiesto deterthem from doing them in the future ,thatthis

        honorable CourtordertheD efendantsto subm itto the cotu'tsthe actual

        num berofsharesofAM C and GM E thatthey areallegedly holding Thatthis

        honorable courtorderthe SEC D TCC CFTC and FIN RA to follow therules
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         thatthey putin place thatthey appearto turn a blind eye to and order

         C itadelLLC CitadelSecurities and CitadelC orm ectto dism antle the

         M onopoly they have on the Stock m arketand w hateverelse the courts find

         fair and equitable

         Respectfully Subm itted

             Septem ber 6,2021



                                                                D onnah    G eorge

   D orm ahue G eorge
   1012 nw 2ndst
   FortLauderdaleFL 33311
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                                C ertilcate of Serviee
   1hereby certify thata true and correctcopy ofthe foregoing A m ended Com plaint
    w as served by C ertified M ailon    tem be 7,2021 to a11counselor partiesof
                              re%       n he S vice List      -.


                                    D oM ahue eorge
                                    SER V ICE LIST
   SEC
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